 

:04- --Cr 80370- .]CO- DAS ECF NO. 711 filed 05/21/07 Page|D. 4363 Page 1 Of 2
UN|TED STATES COURT OF AF'PEALS 012
FOR THE S|XTH ClRCUlT _ -
100 EAST FIFTH STHEET, ROOM 540 D|ANE KUNTZ
F'DTTEH STEWART lJ.$. CDURTHOUSE 1513) 564-7014
CINClNNAT|. DH|O 45202-3988 ¢FAXl 564-7096
www.caE.uscourta.gov

Filed: May 16, 2007

 

David J Weever

Eaetern Distriet of Michigan at Detroit q ‘
231 W. Lafayette Boulevard §§ §i\
Fi.fth Floer Theodore Levin U.S. Ceurthouse '“Hl “* § .
Detroit, MI 48226 m ' _ \K]
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RF..: 07-'1002 w O;:g:u$‘i`:
USA vs. Berre GLEF“EPVCH`
Distriet Court Ne. 04-80370 IM:\A

Enclesed pleaee find a certified copy of the Court’s order entered today
in the above-styled case.

Very truly yeurs,
Leo d Green, Ckerk

(Ms.) Diane Kuntz
Case Manager

Enclosure

ee:
Honoreble John Cerbett O’Meara
MS. Cathleen M. Corken
Houda Mohamad Berre
Mr. James M. Fox

 

   

 

 

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Caae No: 07-1002

UNITED STHJES CUURT OF AFPEALS

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umwa aTATEa oF Amaa'rcn LEDNARD GREEN,C|erk

Plainti£f - Appellee

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Defendant - Appellant \M~`{ L __M,.“E
\C:‘: O?¥ will

Upon consideration of the appellant’a motion to voluntarily dismiss
the appeal herein pursuant to Rule 42(b), Federal Rulea of Appellate
Frocedure, l

lt ia URDERED that the motion ia GRADHED and the appeal ia

diamiaaed.

ENTERED PURSUAHT TD RULE 45(&),
RULES (F THE SIXTH CIRCUIT.
Leonard Green, Clerk

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Atteat:

LEONARD GREEN, CITEE
Ey D"‘-"'-""‘ _1

"Eepunr C#=;,;»k_

